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19                                    UNITED STATES DISTRICT COURT
20                              NORTHERN DISTRICT OF CALIFORNIA
21
     MATTHEW CAMPBELL, MICHAEL                     Case No. 4:13-cv-05996-PJH
22   HURLEY, on behalf of themselves and all
     others similarly situated,                    JOINT DECLARATION OF MICHAEL
23                                                 SOBOL AND HANK BATES IN SUPPORT
                        Plaintiffs,                OF PLAINTIFFS’ MOTION FOR FINAL
24                                                 APPROVAL OF CLASS ACTION
     v.                                            SETTLEMENT
25
     FACEBOOK, INC.,                               Date: August 9, 2017
26                                                 Time: 9:00 a.m.
                        Defendant.                 Judge: Hon. Phyllis J. Hamilton
27                                                 Place: Courtroom 3, 3rd Floor
28
                                                               DECLARATION OF M. SOBOL & H. BATES ISO
                                                                           MOT. FOR FINAL APPROVAL
                                                                            CASE NO. 4:13-CV-05996-PJH
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 1            We, Michael Sobol and Hank Bates, declare as follows:
 2            1.     Michael Sobol is a member in good standing of the California State Bar and a
 3   partner in the law firm Lieff, Cabraser, Heimann & Bernstein, LLP (“LCHB”), counsel for
 4   Plaintiffs and the Class in this proceeding. He is the LCHB attorney principally responsible for
 5   overseeing LCHB’s work in this proceeding.
 6            2.     Hank Bates is a member in good standing of the California and Arkansas State
 7   Bars and a partner in the law firm Carney Bates & Pulliam PLLC (“CBP”), counsel for Plaintiffs
 8   and the Class in this proceeding. He is the CBP attorney principally responsible for overseeing
 9   CBP’s work in this proceeding.
10            3.     We submit this declaration jointly in support of Plaintiffs’ Motion for Final
11   Approval of Class Action Settlement.
12            4.     Except as otherwise noted, we have personal knowledge of the facts set forth
13   herein, and if called to testify thereto, could and would do so competently, including with respect
14   to the information provided regarding our respective law firms.
15            5.     Consistent with the Court’s Order Granting Preliminary Approval of Class Action
16   Settlement as Modified (Dkt. No 235), notice of the settlement in this Action was posted on Class
17   Counsels’ websites1 on May 3, 2017.
18            6.     This notice included the Court’s Order, the Settlement Agreement, and Plaintiffs’
19   Motion for Preliminary Approval of Class Action Settlement.
20            7.     Attached hereto as Exhibit 1 are screen shots of the portions of CBP’s website
21   related to notice of the settlement in this Action. These changes were implemented on May 3,
22   2017 and have remained in place, to date.
23            8.     Attached hereto as Exhibit 2 are screen shots of the portions of LCHB’s website
24   related to notice of the settlement in this Action. These changes were implemented on May 3,
25   2017 and have remained in place, to date.
26            9.     In further compliance with the Court’s Order, Class Counsel will post, on their
27   websites, the following documents, as soon as such documents are filed: Plaintiffs’ Motion for
     1
28       Respectively, www.cbplaw.com and www.lieffcabraser.com
                                                                    DECLARATION OF M. SOBOL & H. BATES ISO
                                                    -1-                         MOT. FOR FINAL APPROVAL
                                                                                 CASE NO. 4:13-CV-05996-PJH
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 1   Attorneys’ Fees and Incentive Awards, and any opposition or reply papers related to any motion
 2   identified in ¶ 7.d of the Court’s Order.
 3

 4          I declare under penalty of perjury that the foregoing is true and correct. Executed this
 5   26th day of May, 2017 in San Francisco, California.
 6
                                                  /s/ Michael W. Sobol
 7                                                Michael W. Sobol
 8

 9          I declare under penalty of perjury that the foregoing is true and correct. Executed this
10   26th day of May, 2017 in Little Rock, Arkansas.
11
                                                  /s/ Hank Bates
12                                                Hank Bates
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                                                                   DECLARATION OF M. SOBOL & H. BATES ISO
                                                   -2-                         MOT. FOR FINAL APPROVAL
                                                                                CASE NO. 4:13-CV-05996-PJH
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             EXHIBIT 1
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             EXHIBIT 2
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